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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

Plaintiff,

vs.

JERRY F. STRAHAN,

Defendant.                                           No. 05-CR-30027-DRH

                                       ORDER

Herndon, District Judge:

             On April 13, 2006, Jerry Strahan filed a pro se motion for transcripts

(Doc. 134). The Court strikes Strahan’s request based on the following. “A district

court is entitled to insist that a represented party file papers only through counsel.”

Johnson v. United States, 196 F.3d 802, 805 (7th Cir. 1999). On October 5,

2005, the Court appointed attorney Steven Stenger to represent Strahan in this

matter. Therefore, the Court insists that Strahan only file pleadings through his

counsel. Accordingly, the Court STRIKES Strahan’s pro se motion for transcripts

(Doc. 134). The Clerk of the Court shall accept only the pleadings that are filed

through attorney, Steven Stenger, on behalf of Strahan.

             IT IS SO ORDERED.

             Signed this 17th day of April, 2006.

                                                     /s/        David RHerndon
                                                     United States District Judge
